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                     UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF OKLAHOMA



DUANE & VIRGINIA LANIER TRUST,
individually and on behalf of all others
similarly situated,

                   Plaintiffs,
                                                 Case No. 15-cv-00634-G
      v.

SANDRIDGE MISSISSIPPIAN TRUST I,
et al.,

                   Defendants.



                        REPLY IN SUPPORT OF
                   SANDRIDGE MISSISSIPPIAN TRUST I’s
                   MOTION FOR SUMMARY JUDGMENT


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                                     I.     Introduction

       Plaintiffs’ ever-shifting theories in this case have few constants, but one is their

inability to advance a consistent or legally sound framework for Trust I’s alleged liability.

       In their summary judgment briefing, the individual SandRidge officer Defendants

Ward, Grubb, and Bennett have articulated several grounds upon which this Court

could—and should—dispose of this entire case, not the least of which is that Plaintiffs

oppose summary judgment based on claims that they did not plead and cannot prove and

that the statements at issue are neither false nor actionable. But should the Court reach

grounds specific to Trust I, Plainiffs’ counter-statement of facts raises no genuine,

material fact dispute and therefore Trust I is entitled to judgment as a matter of law.

                              II.    Argument and Authorities

       Plaintiffs’ case against Trust I relies on imputing statements by, and the scienter

of, the individual SandRidge officers to Trust I. None of those statements were false or

misleading, but even if they were, Trust I is entitled to summary judgment. None of those

SandRidge officers were actual or apparent agents of Trust I, nor were they officers or

“de facto officers” of Trust I.

   A. SandRidge’s officers were not agents of Trust I in connection with the
      statements at issue

       Plaintiffs have unequivocally argued that, “when the SandRidge Officer

Defendants made statements on Trust I earnings calls, they did so as officers of, and with

the authorization of, SandRidge.” See Dkt. 294 at 7. Indeed, the SandRidge officers and

Trust I had clearly delineated, unambiguously identified roles, and no reasonable person
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could have assumed or believed that Ward or Grubb were apparent agents of Trust I.1 Yet

Plaintiffs now claim that the SandRidge officers were simultaneously apparent agents of

Trust I (tellingly, Plaintiffs hardly argue any actual authority).

         “[T]hree elements must exist before a third party can hold a principal liable for the

acts of another on an apparent-agency theory: ‘(a) conduct of the principal [which would

reasonably lead the third party to believe that the agent was authorized to act on behalf of

the principal], (b) reliance thereon by [the] third person, and (c) change of position by the

third party to his detriment.’” Hinton Travel Inn, Inc. v. Wichita Wayne, LLC., No. 11-

291-C, 2012 WL 2789873, *2 (W.D. Okla., July 9, 2012). Importantly, however,

“apparent authority exists only to the extent that it is reasonable for the third person

dealing with the agent to believe that the agent is authorized.” Restatement (Second) of

Agency § 8, cmt c (1958). Specifically, “a third party has an obligation to ‘use reasonable

diligence and prudence to ascertain whether the agent is acting within the scope of its

powers.’” In re Lamey, No. 14-13729, 2020 WL 1884189, at * 2 (Bankr. D.N.M. Apr.

15, 2020). The Tenth Circuit has also made it clear that “knowledge that an agent has

limited authority defeats any right to rely on apparent authority” and that “it is always

competent to limit the authority of an agent, and if the limitations have been brought to

the attention of the person dealing with the agent, he is bound by them.” De Boer Const.

v. Reliance Ins. Co., 540 F.2d 486, 491 (10th Cir. 1976); 3 Am.Jur.2d Agency § 77 (1962).




1
    Defendant Bennett did not make any of the challenged statements.

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       Based on the unequivocal statements made at the beginning of each earnings call,

stating that Trust I “has no employees or officers,” a person could not reasonably believe

that Grubb or Ward were agents of Trust I authorized to act on behalf of Trust I.2 Indeed,

listeners were told multiple times on earnings calls that Ward and Grubb were not officers

or employees of Trust I (because “the Trust ha[d] no employees or officers”) and that they

were instead officers of SandRidge, a completely separate entity who “sponsored” Trust

I.3 Additionally, the Administrative Services Agreement between SandRidge and Trust

I, which was publicly filed with the SEC, disclaimed any agency relationship between

Trust I and SandRidge and described SandRidge as an independent contractor. No

reasonable investor could ignore such clear and repeated disclaimers.

       Plaintiffs gloss over meaningfully distinguishing features of the agency and

apparent agency cases upon which they rely. For example, Plaintiffs repeatedly cite In re

ChinaCast Educ. Corp. Sec. Litig., in which ChinaCast’s founder and CEO, participated

in a series of earnings calls and other communications with investors where he failed to

disclosure fraudulent activities of the organization and emphasized the company’s

financial health and stability, which was, in fact, not true. 809 F.3d 471, 472-73 (9th Cir.

2015) (emphasis added). The Ninth Circuit held that the founder was an agent of

ChinaCast and was acting with apparent authority when he made misrepresentations on

the earning calls. However, that holding was based on the fact that the founder was an



2
  See Trust I MSJ Ex. J, SD-SECURITIES-0000089; Ex. K, SD-SECURITIES 0000097; Ex. L, SD-
SECURITIES-0000106; Ex. M, SD-SECURITIES-0000112.
3
  See Trust I MSJ Ex. J, SD-SECURITIES-0000089; Ex. K, SD-SECURITIES 0000097; Ex. L, SD-
SECURITIES-0000106; Ex. M, SD-SECURITIES-0000112.

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employee of the principal and that, under the “well-established parameters, ChinaCast

[did] not dispute that [he] acted within the scope of his authority.” See id. at 476. Indeed,

a court distinguishing ChinaCast described it as a case that “applied agency principles in

the particular context of ‘when an employee’s acts and intent are to be imputed as those

of the company.’” Basile v. Valeant Pharm. Int’l, No. 14-2004, 2015 WL 7352005, n. 6

(C.D. Cal. Nov. 9, 2015) (quoting ChinaCast, 809 F.3d 471 at 475) (emphasis added).

       Plaintiffs’ reliance on ChinaCast is misplaced. Here, the undisputed fact is exactly

the opposite: Ward and Grubb were not employees of Trust I. Moreover, investors were

explicitly made aware on multiple occasions that Trust I had no employees or officers.

       Plaintiffs’ apparent authority argument also relies on St. Anthony Hosp. v. U.S.

Dep’t of H.H.S.., 309 F.3d 680 (10th Cir. 2002). While St. Anthony Hosp. articulates the

law of apparent authority, the court engaged in no analysis of apparent authority, because,

unlike here, “there [was] substantial evidence to support the existence of actual

authority.” Id. at 704. Moreover, Plaintiffs also repeatedly cite McNutt Oil & Ref. Co. v.

Mimbres Valley Bank, 174 F.2d 311 (10th Cir. 1949), where the court found that apparent

authority existed when the principal did not communicate to any third party that there

were limitations on the agent’s behavior. See McNutt, 174 F.2d at 313-14. The facts here

are plainly different. Indeed, more relevant here, the Tenth Circuit noted that a third

party’s knowledge of limitations on an agent’s authority may defeat the finding of

apparent authority. See id. Specifically, the court stated, “the test is what powers, persons

of ordinary prudence, familiar with business practices, dealing with the agent, without



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knowledge of any limitation on the agent's authority, might reasonably believe him to

have on the basis of the principal’s conduct.” Id. (emphasis added).

       On each call, Ward and Grubb were introduced as SandRidge officers and it was

stated that Trust I had no employees or officers, SandRidge Energy was Trust I’s sponsor,

and SandRidge was responsible for operating the underlying properties.4

       Plaintiffs also cite Travelers Ins. Co. v. Morrow, a case where apparent authority

did not exist. See 645 F.2d 41, 45 (10th Cir. 1981). In deciding that the “evidence [was]

without conflict” and there was no apparent authority, the relevant evidence was the

contract itself (an insurance policy), which “provided that no agent had authority to

change or waive any of its provisions.” Id. at 43. Just as in Traveler’s, the Administrative

Services Agreement between SandRidge and Trust I unequivocally limited any employee

or officer of SandRidge from binding Trust I to any contract or exercising any type of

agency authority. Specifically, the ASA provided, in an “Independent Status” clause:

    It is expressly acknowledged by the parties hereto that each party is an “independent
    contractor” and nothing in this Agreement is intended nor shall be construed to create
    an employer/employee, joint venture or partnership relationship, or to allow any party
    to exercise control or direction over the other party. Except as required in connection
    with the performance of the Services, neither the Company nor any agent, employee,
    servant, contractor or subcontractor of the Company or any of its Affiliates shall have
    the authority to bind the Trust to any contract or arrangement.5

    As the ASA was filed with the SEC and publically available to all investors, the ASA

provided an effective limitation of authority. Such limitation, combined with the other




4
  See Trust I MSJ Ex. J, SD-SECURITIES-0000089; Ex. K, SD-SECURITIES 0000097; Ex. L, SD-
SECURITIES-0000106; See Ex. M, SD-SECURITIES-0000112.
5
  Trust I MSJ Ex. Q.

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undisputed facts of this case, demonstrates without conflict that no third-person could

reasonably believe Ward and Grubb to have such agency authority, and, therefore, no

apparent authority existed.

   B. Ward and Grubb were not de facto officers of Trust I

       Plaintiffs’ attempt to shoe-horn facts into the fairly obscure “de facto officer”

doctrine similarly falls flat. Plaintiffs begin their argument that Ward and Grubb were de

facto officers of Trust I by citing sundry cases discussing the approaches that various out-

of-circuit courts employed to determine whether someone was a de facto officer. See Opp.

at 14. But the crux of their argument is that Ward and Grubb performed “policy-making

functions” for Trust I. See Opp. at 15. As one of Plaintiffs’ own cases makes clear, “the

few cases that have found an employee to be a de facto officer because of their ability to

make policy involved alleged ‘consultants’ who were actually in total control of the

company.” S.E.C. v. Prince, 942 F. Supp. 2d 108, 134 (D.D.C. 2013) (emphasis added).

       Here, no reasonable interpretation of the evidence puts Ward and Grubb in “total

control” of Trust I. Aside from the uncontroverted testimony of the Trustee, Plaintiffs

themselves note that Ward and Grubb held the earnings calls to simply “relay

information” and “answer questions.” See Opp. at 16. As a matter of law, that activity

falls far short of “total control” or “policy making.” Indeed, the principle of de facto

officer-ship “protect[s] innocent third parties during the course of transactions with

corporate officers that present themselves as having authority to act.” Music Group

Macao Commercial Offshore v. Foote, No. 14-cv-03078-JSC, 2015 WL 3882448, at *22

(N.D. Cal. June 23, 2015) (emphasis added); 2 William Meade Fletcher, Fletcher
                                             6
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Cyclopedia Of The Law Of Private Corporations § 385 (“The de facto rule will not be

extended to a case where a person dealing with alleged corporate officers is not misled

nor induced to believe that they are dealing with legal officers, but has knowledge that

the person pretending to be an officer is not a de jure officer.”).

       Plaintiffs challenge Trust I’s assertion that courts consistently hold that an

individual may not be a de facto officer when the interested or third party knows that the

individual is in fact not an officer. But Plaintiffs ignore the public policy behind the law.

“[T]he goal of this limited exception is to protect innocent third parties during the course

of transactions with corporate officers that present themselves as having authority to act.”

Music Group, 2015 WL 3882448, at *22 (emphasis added). Additionally, the exception

does not apply “where all the parties interested have knowledge that the person pretending

to be an officer is not an office de jure; for in such a case the reason for the rule no longer

exists, and the law should not be involved for protection.” Id. (emphasis added).

       Ward and Grubb were not pretending to be officers of Trust I; they explicitly held

themselves out as officers of SandRidge, not Trust I. In each earnings call at issue, Bennett

introduced Ward and Grubb as officers of SandRidge and, immediately following, then

made clear that “Trust [I] has no employees or officers.”6 As a matter of law, that is not

“present[ing] themselves as having authority to act.”

       Plaintiffs’ last hope is a tenuous argument that even more disclosure was required,

that Trust I should have further “clarified that Ward and Grubb were not Trust I officers.”


6
 See Trust I MSJ Ex. J, SD-SECURITIES-0000089; See Ex. K, SD-SECURITIES 0000097; See Ex. L, SD-
SECURITIES-0000106; See Ex. M, SD-SECURITIES-0000112.

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Opp. at 15. Besides straining rationality, this argument ignores the animating intent of the

de facto officer doctrine—that third parties should be protected from persons pretending

to be officers. Trust I is aware of no case remotely similar to the facts here, where the

doctrine was used to invent liability against a completely separate entity based on the

statements of people who expressly disclaimed being officers or employees of that entity.

This Court should not be the first to follow that path in a case where all parties made

unmistakable efforts to delineate between the roles of SandRidge officers and Trust I.

   C. Trust I was not the “maker” of the statements at issue

       Trust I did not make any of the allegedly false and misleading statements because

Trust I did not have the ultimate authority or control over the statements made by Ward

or Grubb. The issue is not just who physically uttered the statements, but more

importantly, the issue is control. Of course there can be more than “one maker of a

statement.” Carpenters Pension Tr. Fund of St. Louis v. Barclays PLC, 56 F. Supp. 3d

549, 558 (S.D.N.Y. 2014). But in that case, upon which Plaintiffs rely, it is clear that

multiple “makers” of a statement existed not merely because more than one “maker”

could make a statement but because, on the facts presented at the motion to dismiss stage,

the defendant’s president “was able to cause Barclay’s Bank to make false . . . statements

by instructing it to do so.” Id. at 558-59. The court found that “alone implie[d] a level of

control [that was] sufficient at the pleading stage to withstand scrutiny under Janus.” Id.

       The facts here are clear that Trust I did not exert a sufficient level of control over

Ward or Grubb to render it a “maker” of the statements at issue, nor did Trust I “cause”

Ward or Grubb to make such statements. First, on the earnings calls at issue, Ward and
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Grubb were introduced, repeatedly, as SandRidge officers, not Trust I officers, and,

secondly, Trust I and trustee had no role in drafting scripts for the earnings calls. Trust I

merely set up the earnings calls for investors and SandRidge; Trust I was not consulted

about what information would be discussed in the earnings calls. See Ex. O (30:19-24).

       Plaintiffs also cite to IOP Cast Iron Holdings, another out-of-circuit case, in

support of their contention that there can be more than one “maker” of a statement. IOP

Cast Iron Holdings, LLC v. J.H. Whitney Capital Partners, LLC, 91 F.Supp.3d 456

(S.D.N.Y. 2015). While IOP Cast Iron Holdings does state that more than one entity can

be a “maker” of a statement, the court clarified that “the ultimate test is whether a

particular defendant made it necessary or inevitable that any falsehood would be

contained in the statement.” Id. at 473. Again, for Trust I to be a “maker” of the statements

at issue, Plaintiffs must show that Trust I made it “necessary or inevitable” that the

statements would be false or misleading. Plaintiffs have not and cannot meet that burden.

       Plaintiffs attempt to argue that Trust I had a continuing duty to correct any false

statements contained in the Trust I Registration Statement. See Opp. at 17. As thoroughly

briefed before, that argument does not relate to a live claim in this case. See Dkt. 409.

   D. Trust I did not disseminate false and misleading statements

       Setting aside the obvious inconsistency of Plaintiffs’ prior assertion that “when the

SandRidge Officer Defendants made statements on Trust I earnings calls, they did so as

officers of, and with the authorization of, SandRidge,” Dkt. 294 at 7, Plaintiffs cite

Lorenzo v. S.E.C. in an attempt to show disseminator liability, suggesting that Trust I

cannot escape liability because it is not an “actor tangentially involved in dissemination
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. . . for whom liability would typically be inappropriate.” 139 S.Ct. 1094, 1101 (2019).

Not so. The scienter of the defendant in Lorenzo was undisputed, allowing the court to

infer that the statements at issue were sent with “the intent to deceive, manipulate, or

defraud the recipients.” See id. (“Recall that Lorenzo does not challenge the appeals

court’s scienter finding, so we take for granted that he sent the emails with ‘intent to

deceive, manipulate, or defraud’ the recipients.”). Here, there is not even an allegation

that the Trust itself (through the Trustee) acted with an intent to deceive, manipulate, or

defraud. The only scienter at issue is that of Ward and Grubb, and Plaintiffs cite no case

where an entity that disputed scienter or that simply arranged some logistics of a

communication could be liable under the reasoning in Lorenzo.

   E. Trust I is entitled to summary judgment on grounds common to all Defendants

       As to grounds common among all Defendants, Trust I joins and incorporates by

reference the motions for summary judgment and replies filed by Ward, Grubb, and

Bennett. These grounds, including that (1) Plaintiffs’ claims are barred by statute of

limitations or repose, (2) Defendants made no false statements, (3) the statements at issue

are immunized under the PSLRA’s safe harbor, (4) Ward and Grubb did not act with

scienter and (5) Plaintiffs failed to show loss causation, could—and should—be

dispositive of this case without the Court needing to reach issues unique to Trust I.

                                         III.        Prayer

   For these reasons, the Court should grant summary judgment in favor of Trust I and

against Plaintiffs, and for such other and further relief as to which Trust I may be entitled.



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Dated: September 22, 2020            Respectfully submitted,

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                            CERTIFICATE OF SERVICE

       The undersigned counsel certifies that, on September 22, 2020, he caused the

foregoing document to be filed using the Court’s Electronic Case Filing system, which will

cause notice of the filing to be served electronically upon all counsel who have appeared

in this action.




                                                By: W. Stephen Benesh
                                                   W. Stephen Benesh
